                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WISCONSIN
                               GREEN BAY DIVISION


DUSTIN S. SOULEK, individually,
and as representative of a Class of
Participants and Beneficiaries, of
the Costco 401(k) Retirement Plan;

             Plaintiff,                             Case No. 20-cv-937

      v.

COSTCO WHOLESALE CORPORATION, et al.


             Defendants


             PLAINTIFF’S MOTION FOR PRELIMINARY APPROVAL
                     OF CLASS ACTION SETTLEMENT



TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

   Plaintiff Dustin S. Soulek, individually, and as representative of a Class of

 Participants and Beneficiaries of the Costco 401(k) Retirement Plan (“Plaintiff”),

respectfully moves the Court to: (1) preliminarily approve the Parties’ Class Action

Settlement Agreement in the above- referenced matter; (2) approve the proposed

Settlement Notices and authorize distribution of the Notices to the Settlement Class;

(3) preliminarily certify the Settlement Class for settlement purposes; (4) schedule a

final approval hearing; and (5) enter the accompanying Preliminary Approval Order.

   This motion is made pursuant to Federal Rule of Civil Procedure 23(e) and is based

on the accompanying Memorandum of Law and authorities cited therein, the



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Declaration of Paul M. Secunda and exhibits attached thereto (including the

Settlement Agreement attached as Exhibit A), the Declaration of Dustin S. Soulek,

and all files, records, and proceedings in this matter. Defendants join in the relief

requested by Plaintiff's Motion for Preliminary Approval of Settlement. However,

Defendants do not agree with the averments, statements, allegations, and claims

stated by Plaintiff in the Motion for Preliminary Approval of Settlement and the

attached Exhibits.

   Dated this 14th day of March, 2022        WALCHESKE & LUZI, LLC

                                             s/ Paul M. Secunda____________________
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                                             Scott S. Luzi
                                             Paul M. Secunda
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                                             ATTORNEYS FOR PLAINTIFF




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                             CERTIFICATE OF SERVICE

   I hereby certify that on March 14, 2022, I caused a copy of the foregoing to be

electronically filed with the Clerk of the Court by using the CM/ECF system, which

will send a notice of electronic filing to all counsel of record.


Dated: March 14, 2022                                   s/Paul M. Secunda
                                                        Paul M. Secunda




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